    Case 5:11-cr-40046-JWL      Document 114   Filed 01/24/12   Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                 Plaintiff,
     vs.                                  Case No. 11-40046-08-RDR

SHAWN F. POLINSKEY,

                 Defendant.


                                  O R D E R

     This case is before the court upon defendant Polinskey’s

unopposed motion to extend the time for filing motions by 90 days.

Upon review of the matter, the court shall grant a much shorter

extension of time.

     This case contains an indictment charging eight defendants,

including    defendant   Polinskey,     with   conspiracy       to   distribute

methamphetamine.       There is a second count which charges two

defendants     other     than      Polinskey     with     distribution        of

methamphetamine.

     The indictment in this case was filed June 1, 2011.                On June

24, 2011, the court declared that this was a complex case and

extended the time for filing motions to August 19, 2011. The court

noted:

     [T]his case is the result of investigations involving
     more than 50 other defendants.      The investigations
     spanned approximately 19 months and involved multiple
     wiretap orders and other orders for the collection of
     electronic information or communication.     There were
     approximately 30 search warrants executed in connection
    Case 5:11-cr-40046-JWL   Document 114   Filed 01/24/12   Page 2 of 3




     with these investigations. The government estimates that
     the discovery to be disclosed in this case will exceed
     50,000 pages and involve hundreds of hours of audio
     recordings.    Given the number of defendants and the
     breadth and bulk of the discovery, the court believes
     this case qualifies as a complex case.

          As of this date the discovery has not been shared
     with defense counsel. Yet, the current deadlines for
     filing pretrial motions are in a matter of days. Under
     these circumstances, the court believes that a failure to
     extend the time for filing pretrial motions would result
     in a miscarriage of justice and prevent counsel for
     defendants and for the government sufficient time to
     effectively prepare and to adequately represent their
     clients given the exercise of due diligence.


Doc. No. 48.

     On August 18, 2011, the court extended the deadline for filing

pretrial motions to December 16, 2011 for most of the same reasons

given for the first extension of time.       Doc. No. 65.      On December

29, 2011, the court extended the time for filing pretrial motions

to January 17, 2012.    Doc. No. 99.

     Defendant Polinskey was arraigned in this case on June 14,

2011.   Seven months have passed since that time.             Although the

discovery record is massive and has been supplemented as time has

passed, the court believes that less than 90 additional days is

needed to prepare to file pretrial motions or to decide whether a

plea agreement can be reached.     Other defendants in this case and

cases related to the overall investigation have made these kinds of

decisions already.   While it is not completely clear whether these

other defendants and their counsel are ready to proceed with


                                    2
    Case 5:11-cr-40046-JWL    Document 114    Filed 01/24/12   Page 3 of 3




pretrial motions at this point in time, the other defendants in

this case have not asked for an extension of time to file motions

or to join in defendant’s motion. The court understands that there

are debriefings and other pertinent information which continue to

be developed and must be considered by defendant and counsel. But,

the court believes counsel needs less time than requested to

effectively review such material and represent his client.

     Upon   due   consideration,     the   court   shall   grant    defendant

Polinskey time until February 3, 2012 to file motions.                       The

government shall have time until February 10, 2012 to respond to

the motions. The court shall conduct a hearing upon any motions on

February 22, 2012 at 9:30 a.m.

     The    extension   of   time   granted   by   this    order    shall     be

considered excludable time for purposes of the Speedy Trial Act, 18

U.S.C. § 3161(h)(7).     The court notes that defendant Polinskey is

detained pending trial and is not a threat to the public.

     IT IS SO ORDERED.

     Dated this 24th day of January, 2012 at Topeka, Kansas.


                                    s/Richard D. Rogers
                                    United States District Judge




                                      3
